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                                                                                                                        March 01, 2018 through March 30, 2018
                                       JPMorgan Chase Bank, N.A.
                                       P O Box 182051                                                                   Primary Account:
                                       Columbus, OH 43218 - 2051

                                                                                                                   CUSTOMER SERVICE INFORMATION

                                                                                                                   Web site:                www.Chase.com
                                                                                                                   Service Center:           1-877-425-8100
                                       00005026 DRE 201 210 09418 NNNNNNNNNNN   1 000000000 D2 0000                Deaf and Hard of Hearing: 1-800-242-7383
                                       ROOFTOP GROUP USA, INC. DBA                                                 Para Espanol:             1-888-622-4273
                                       ROOFTOP BRANDS                                                              International Calls:      1-713-262-1679
                                       5218 SPRUCE ST
                                       BELLAIRE TX 77401-3311




                                                                                                                                                                             00050260801000000021
*start*after address message area1




We updated our Deposit Account Agreement
The following changes were made March 11, 2018:

We published an updated version of our Deposit Account Agreement. You can get the latest agreement at a branch or by
request when you call us. Here’s what you should know:

                                          •    We clarified that if the amount written on your deposit ticket is different from the total deposit you present, we
                                               can adjust your account for the difference. (General Account Terms, Section A, Deposit records and receipts)

                                                                                                                              ®
                                          •    You can now request a stop payment on a check through the Chase Mobile app. You can also still do this on
                                               chase.com, over the phone or in a branch. (General Account Terms, Section B, Stop payments)

                                          •    We’re starting to use a new payment network that allows businesses to send you real-time payments when you
                                               provide your account and routing numbers. When you accept a real-time payment, you confirm that you’re not
                                               acting on the behalf of someone who is not a U.S. citizen or resident. (General Account Terms, Section I,
                                               Rules governing your account)

                                          •    We updated the language to clarify how to place a stop payment on electronic funds transfers. (Electronic
                                               Funds Transfer Service Terms, Section G, Preauthorized (recurring) transfers and stop payments)

Please call us at the number on this statement if you have any questions.
*end*after address message area1

*start*consolidated balance summary2




                 CONSOLIDATED BALANCE SUMMARY
            ASSETS


            Checking & Savings

            Chase Performance Business Checking                                                                                        $151,386.38              $24,463.97
            Chase Performance Business Checking                                                                                              73.06                   73.06
            Total                                                                                                                      $151,459.44              $24,537.03


            TOTAL ASSETS                                                                                                               $151,459.44              $24,537.03
*end*consolidated balance summary2




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                                                                                                     Primary Account:




       *start*global product




                        CHASE PERFORMANCE BUSINESS CHECKING
                         ROOFTOP GROUP USA, INC. DBA                                                     Account Number:
                         ROOFTOP BRANDS
       *end*global product
       *start*summary




                      CHECKING SUMMARY
                    Beginning Balance                                                      $151,386.38
                    Deposits and Additions                              57                1,203,787.84
                    Checks Paid                                          9                  -18,963.83
                    ATM & Debit Card Withdrawals                       185                  -27,180.58
                    Electronic Withdrawals                             114               -1,280,996.84
                    Other Withdrawals                                    1                   -2,649.00
                    Fees                                                 1                     -920.00
                    Ending Balance                                     367                  $24,463.97
       *end*summary



*start*deposits and additions




           DEPOSITS AND ADDITIONS

            03/01                  Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Asian Express Holdings Limited Ng Kong          $489,975.00
                                   Ref: Nbnf=Rooftop Group USA, Inc. Dba Rooftop Bellaire, TX 774013311/Ac-000
                                   000004709 Org=/808018766838 Ng Kong Ogb=Hsbc Hong Kong Hong Kong Hong Kong
                                   Bbi=/Chgs/USD25,00/Bnf/Jpmorga N Chase Bank NA 15760 W . Hardy Rd. , Suite Ssn:
                                   0047484 Trn: 0880400060Fc
            03/01                  Book Transfer Credit B/O: Taipei Fubon Commercial Bank CO Ltdtaipei 106 Taiwan                    215,601.82
                                   Org:/560170037931 Rooftop Group International Pte Ltd Ogb: Taipei Fubon Commercial
                                   Bank CO., Ltd Ref:/Chgs/USD24,50/ Trn: 8024100060Hd
            03/01                  Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Asian Express Holdings Limited Ng Kong             76,368.00
                                   Ref: Nbnf=Rooftop Group USA, Inc. Dba Rooftop Bellaire, TX 774013311/Ac-000
                                   000004709 Org=/808018766838 Ng Kong Ogb=Hsbc Hong Kong Hong Kong Hong Kong
                                   Bbi=/Chgs/USD25,00/Bnf/Jpmorga N Chase Bank NA 15760 W . Hardy Rd. , Suite Ssn:
                                   0048297 Trn: 0903500060Fc
            03/01                  Chips Credit Via: Hsbc Bank USA, N.A./0108 B/O: Asian Express Holdings Limited Ng Kong             54,475.00
                                   Ref: Nbnf=Rooftop Group USA, Inc. Dba Rooftop Bellaire, TX 774013311/Ac-000
                                   000004709 Org=/808018766838 Ng Kong Ogb=Hsbc Hong Kong Hong Kong Hong Kong
                                   Bbi=/Chgs/USD25,00/Bnf/Jpmorga N Chase Bank NA 15760 W . Hardy Rd. , Suite Ssn:
                                   0047986 Trn: 0895600060Fc
            03/01                  Fedwire Credit Via: Ctbc Bank Corp. (USA)/122210406 B/O: Rooftop Group International               10,500.00
                                   Raleigh NC 27615 Ref: Chase Nyc/Ctr/Bnf=Rooftop Group USA, Inc. Dba Rooftop Bellaire,
                                   TX 774 013311/Ac-000000004709 Rfb=O/B Ctbc USA LA Imad: 0301Gmqfmp01012181
                                   Trn: 5892509060Ff
            03/01                  Shopify       Transfer Shopify      CCD ID: 1800948598                                                 750.64
            03/02                  Deposit    946821449                                                                                 1,923.75
            03/02                  Deposit    946821450                                                                                    39.52
            03/02                  Dollar General EDI/ACH               CCD ID: 1610852764                                                702.20
            03/02                  Shopify       Transfer Shopify      CCD ID: 1800948598                                                 391.63
            03/05                  Shopify       Transfer Shopify      CCD ID: 1800948598                                                 451.68
            03/05                  Stripe       Transfer            CCD ID: 1800948598                                                    146.40
            03/06                  Shopify       Transfer Shopify      CCD ID: 1800948598                                               2,038.74
            03/07                  Shopify       Transfer Shopify      CCD ID: 1800948598                                                 876.49
            03/08                  Shopify       Transfer Shopify      CCD ID: 1800948598                                               2,441.90
            03/08
*end*deposits and additions
                                   Stripe       Transfer            CCD ID: 1800948598                                                    117.73

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*start*deposits and additions




                                                                     (continued)
           DEPOSITS AND ADDITIONS

            03/08                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                  14.30
            03/09                  Shopify        Transfer Shopify     CCD ID: 1800948598                                               2,158.74




                                                                                                                                                    10050260802000000061
            03/09                  Dollar General EDI/ACH               CCD ID: 1610852764                                              1,627.60
            03/09                  Stripe        Transfer          CCD ID: 1800948598                                                     158.42
            03/12                  Jcpenney CO.,Inc Payment 682547             ID: 3006988893                                          26,894.37
            03/12                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                 244.95
            03/12                  Stripe        Transfer          CCD ID: 1800948598                                                      93.49
            03/13                  Shopify        Transfer Shopify     CCD ID: 1800948598                                               2,499.01
            03/13                  Stripe        Transfer          CCD ID: 1800948598                                                      54.80
            03/14                  Fedwire Credit Via: Wells Fargo Bank/121000248 B/O: Rooftop Group Services (US), Inc.               20,000.00
                                   Bellaire TX 77401-3311 Ref: Chase Nyc/Ctr/Bnf=Rooftop Group USA, Inc. Dba Rooftop
                                   Bellaire, TX 774 013311/Ac-000000004709 Rfb=12 Imad: 0314I1B7032R017191 Trn:
                                   5872009073Ff
            03/14                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                  553.35
            03/14                  Stripe        Transfer          CCD ID: 1800948598                                                      147.26
            03/15                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                1,701.38
            03/15                  Stripe        Transfer          CCD ID: 1800948598                                                       20.42
            03/16                  Card Purchase Return 03/15 Lyft *Cancel Fee 8552800278 CA Card 6048                                       5.00
            03/16                  Dollar General EDI/ACH               CCD ID: 1610852764                                               1,240.30
            03/19                  Jcpenney CO.,Inc Payment 682607             ID: 3006988893                                            1,597.43
            03/19                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                  297.62
            03/19                  Stripe        Transfer          CCD ID: 1800948598                                                       41.67
            03/20                  Fedwire Credit Via: Wells Fargo Bank/121000248 B/O: Rooftop Group Services (US), Inc.                 8,000.00
                                   Bellaire TX 77401-3311 Ref: Chase Nyc/Ctr/Bnf=Rooftop Group USA, Inc. Dba Rooftop
                                   Bellaire, TX 774 013311/Ac-000000004709 Rfb=23 Imad: 0320I1B7033R015612 Trn:
                                   5535109079Ff
            03/20                  Shopify        Transfer Shopify     CCD ID: 1800948598                                               1,899.14
            03/20                  Stripe        Transfer          CCD ID: 1800948598                                                      39.02
            03/21                  Card Purchase Return 03/20 Rosebrandwi 4029357733 NJ Card 3039                                         616.38
            03/21                  Shopify        Transfer Shopify     CCD ID: 1800948598                                               1,734.25
            03/21                  Stripe        Transfer          CCD ID: 1800948598                                                      46.59
            03/22                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                 286.67
            03/23                  Card Purchase Return 03/23 Airbnb * Hmf5Zsq5E5 415-800-5959 CA Card 6048                               393.35
            03/23                  Deposit      661654055                                                                             243,738.80
            03/23                  Dollar General EDI/ACH               CCD ID: 1610852764                                                950.50
            03/23                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                 400.89
            03/23                  Stripe        Transfer          CCD ID: 1800948598                                                      27.61
            03/26                  Shopify        Transfer Shopify     CCD ID: 1800948598                                               7,301.87
            03/26                  Jcpenney CO.,Inc Payment 682654             ID: 3006988893                                           2,733.11
            03/26                  Stripe        Transfer          CCD ID: 1800948598                                                      25.19
            03/27                  Shopify        Transfer Shopify     CCD ID: 1800948598                                              16,331.55
            03/28                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                 848.92
            03/28                  Stripe        Transfer          CCD ID: 1800948598                                                      20.78
            03/29                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                 480.96
            03/29                  Stripe        Transfer          CCD ID: 1800948598                                                      40.76
            03/30                  Dollar General EDI/ACH               CCD ID: 1610852764                                              1,064.40
            03/30                  Shopify        Transfer Shopify     CCD ID: 1800948598                                                 656.49
            Total Deposits and Additions                                                                                          $1,203,787.84
*end*deposits and additions




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                                                                                                       Primary Account:




*start*checks paid section3




            CHECKS PAID

       4281                    ^                                                                                      03/02             $3,320.40
       4282                    ^                                                                                      03/23                670.00
       4283                    ^                                                                                      03/20              1,771.41
       4284                    ^                                                                                      03/19              1,984.97
       4286                    *^                                                                                     03/20              3,600.00
       4287                    ^                                                                                      03/29              3,000.00
       4289                    *^                                                                                     03/30              1,546.18
       4292                    *^                                                                                     03/26              2,366.25
       4297                    *^                                                                                     03/30                704.62
            Total Checks Paid                                                                                                          $18,963.83
            If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
            not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
            * All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
               one of your previous statements.
            ^ An image of this check may be available for you to view on Chase.com.
*end*checks paid section3


 *start*atm debit withdrawal




            ATM & DEBIT CARD WITHDRAWALS

              03/01                 Card Purchase       02/26 46771148 Shopify.Com/C 08008085233 Card 8545                                     $11.99
              03/02                 Card Purchase       03/01 Fedexoffice 00048934 Los Angeles CA Card 6048                                     16.60
              03/02                 Card Purchase       03/02 Endicia Postage (Ems) 650-321-2640 CA Card 8545                                  200.00
              03/05                 Card Purchase       03/03 Sofitel LA-F&B Los Angeles CA Card 6048                                           18.57
              03/05                 Card Purchase       03/04 Life Storage 0439 716-633-1850 NY Card 8545                                      152.00
              03/05                 Card Purchase       03/03 Staples     00114991 Los Angeles CA Card 6048                                    677.03
              03/05                 Card Purchase       03/05 Google *Svcsapps_Pro Cc@Google.Com CA Card 8545                                   53.30
              03/06                 Card Purchase       03/06 Endicia Postage (Ems) 650-321-2640 CA Card 8545                                  200.00
              03/06                 Card Purchase       03/06 Endicia Postage (Ems) 650-321-2640 CA Card 8545                                  200.00
              03/06                 Recurring Card Purchase 03/05 47141622 Shopify.Com Httpsshopify. IL Card 8545                              108.70
              03/09                 Card Purchase       03/07 Sorrento Hotel Seattle WA Card 6048                                              208.92
              03/09                 Card Purchase       03/07 Sorrento Hotel Seattle WA Card 6048                                                8.81
              03/09                 Card Purchase       03/08 Lyft *Ride Wed 4Pm Lyft.Com CA Card 6048                                          52.05
              03/09                 Card Purchase With Pin 03/09 Wholefds Dla #10 770 S Los Angeles CA Card 6048                                89.61
              03/12                 Card Purchase       03/07 47268880 Shopify.Com/C 08008085233 Card 8545                                      79.00
              03/12                 Card Purchase       03/09 Radisson Hotel Menom Menomonee Fal WI Card 6048                                  234.40
              03/12                 Card Purchase       03/10 Westin (Westin Hotels) Rosemont IL Card 6048                                     246.91
              03/12                 Card Purchase       03/09 Lyft *Ride Thu 3Pm Lyft.Com CA Card 6048                                         298.71
              03/12                 Card Purchase       03/09 Lyft *Ride Fri 9Am Lyft.Com CA Card 6048                                          32.95
              03/12                 Card Purchase       03/09 Uber *Trip S6Bzi 800-592-8996 CA Card 6048                                        54.22
              03/12                 Card Purchase       03/11 Los Angeles Athletic C Los Angeles CA Card 6048                                  448.48
              03/12                 Card Purchase       03/09 So Long, HI! Los Angeles CA Card 6048                                             49.22
              03/12                 Card Purchase       03/09 Lyft *Ride Fri 11Am Lyft.Com CA Card 6048                                         30.35
              03/12                 Card Purchase       03/10 Advance Cleaners Los Angeles CA Card 6048                                         35.00
              03/12                 Card Purchase       03/10 Tnl The Nail Lounge Beverly Hills CA Card 6048                                   100.00
              03/12                 Card Purchase       03/10 Sq *Alfred Coffee {B Beverly Hills CA Card 6048                                   10.76
              03/12                 Card Purchase       03/10 Sq *Alfred Coffee {B Beverly Hills CA Card 6048                                    4.00
              03/12
 *end*atm debit withdrawal
                                    Card Purchase       03/10 Lyft *Ride Sat 9Am Lyft.Com CA Card 6048                                          73.86

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                                                                                                 Primary Account:




*start*atm debit withdrawal




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          ATM & DEBIT CARD WITHDRAWALS

            03/12              Card Purchase       03/10 Lyft *Ride Sat 1Pm Lyft.Com CA Card 6048                                         25.21
            03/12              Card Purchase       03/10 Lyft *Ride Sat 2Pm Lyft.Com CA Card 6048                                         18.02




                                                                                                                                                  10050260803000000061
            03/12              Card Purchase       03/10 Lyft *Ride Sat 4Pm Lyft.Com CA Card 6048                                         22.71
            03/12              Card Purchase       03/11 Lyft *Ride Sat 7Pm Lyft.Com CA Card 6048                                         10.60
            03/12              Card Purchase       03/11 Lyft *Ride Sun 9Am Lyft.Com CA Card 6048                                         24.52
            03/12              Card Purchase With Pin 03/11 Apple Store #R124 850 Los Angeles CA Card 6048                                31.76
            03/12              Card Purchase       03/11 Lyft *Ride Sun 12Pm Lyft.Com CA Card 6048                                        10.60
            03/12              Card Purchase       03/11 Lyft *Ride Sun 1Pm Lyft.Com CA Card 6048                                         71.30
            03/12              Card Purchase       03/11 Lyft *Cancel Fee Lyft.Com CA Card 6048                                            5.00
            03/12              Recurring Card Purchase 03/11 Moz 855-894-7355 WA Card 6048                                                30.91
            03/13              Card Purchase       03/11 Zendesk, Inc. 888-6704887 CA Card 8545                                          882.65
            03/13              Card Purchase       03/11 Lyft *Ride Sun 6Pm Lyft.Com CA Card 6048                                         12.02
            03/13              Card Purchase       03/11 Lyft *Ride Sun 7Pm Lyft.Com CA Card 6048                                          7.83
            03/13              Card Purchase       03/11 Lyft *Ride Sun 7Pm Lyft.Com CA Card 6048                                         10.00
            03/13              Card Purchase       03/12 Lyft *Ride Sun 3Pm Lyft.Com CA Card 6048                                         15.78
            03/13              Card Purchase       03/13 Uber *Trip 3Xb34 800-592-8996 CA Card 6048                                       30.98
            03/13              Recurring Card Purchase 03/13 Adobe Systems, Inc. 800-833-6687 CA Card 6048                                54.11
            03/13              Recurring Card Purchase 03/13 Timely Limited Wellington Card 8545                                          20.00
            03/14              Card Purchase       03/13 Westin So Coast Plaza Costa Mesa CA Card 6048                                   332.11
            03/14              Card Purchase       03/13 Www. Multacom. Com 213-804-5402 CA Card 8545                                     88.00
            03/14              Card Purchase       03/12 Lyft *Ride Mon 7Am Lyft.Com CA Card 6048                                        150.78
            03/14              Card Purchase       03/14 Endicia Postage (Ems) 650-321-2640 CA Card 8545                                 200.00
            03/14              Card Purchase       03/14 Endicia Postage (Ems) 650-321-2640 CA Card 8545                                 200.00
            03/14              Card Purchase       03/13 Lyft *Ride Mon 8Pm Lyft.Com CA Card 6048                                         92.12
            03/14              Card Purchase       03/13 Lyft *Ride Tue 9Am Lyft.Com CA Card 6048                                         81.60
            03/14              Card Purchase       03/13 Lyft *Ride Tue 1Pm Lyft.Com CA Card 6048                                         19.01
            03/14              Card Purchase       03/13 Momed Beverly Hills CA Card 6048                                                100.33
            03/14              Card Purchase       03/14 Uber *Trip Ixslb 800-592-8996 CA Card 6048                                        6.78
            03/14              Card Purchase       03/13 Lyft *Ride Tue 3Pm Lyft.Com CA Card 6048                                        128.71
            03/14              Recurring Card Purchase 03/12 Referralcandy Www.Referralc CA Card 6048                                     68.00
            03/14              Recurring Card Purchase 03/14 Stamps.Com 855-608-2677 CA Card 8545                                         34.99
            03/15              Card Purchase       03/14 Westin So Coast Plaza Costa Mesa CA Card 6048                                   300.90
            03/15              Card Purchase       03/14 Westin So Coast Plaza 714-5402500 CA Card 6048                                  331.29
            03/15              Card Purchase       03/14 Nomad LA Hotel Los Angeles CA Card 6048                                         307.17
            03/15              Card Purchase       03/14 Nomad LA Hotel Los Angeles CA Card 6048                                         355.17
            03/15              Card Purchase       03/14 Lyft *Ride Tue 11Pm Lyft.Com CA Card 6048                                         6.60
            03/15              Card Purchase       03/14 Webware - Hosting Fe Downtown Toro On Card 8545                                 630.00
            03/15              Card Purchase       03/14 Usps.Com Mover's Guid 800-238-3150 TN Card 8545                                   1.00
            03/15              Card Purchase       03/14 Usps.Com Mover's Guid 800-238-3150 TN Card 8545                                   1.00
            03/15              Card Purchase       03/14 Usps.Com Mover's Guid 800-238-3150 TN Card 8545                                   1.00
            03/15              Card Purchase       03/14 Chaya - Downtown Los Angeles CA Card 6048                                       128.76
            03/15              Card Purchase       03/14 Nomad LA Hotel Los Angeles CA Card 6048                                          42.71
            03/15              Card Purchase       03/14 Nomad LA Hotel Los Angeles CA Card 6048                                          42.71
            03/15              Card Purchase       03/15 Uber *2Tjsa 800-592-8996 CA Card 6048                                            25.64
            03/15              Card Purchase With Pin 03/15 Belkin St 1414 Carson CA Card 6048                                            16.42
            03/16              Card Purchase       03/14 Courtyard Los Angeles Los Angeles CA Card 6048                                    8.50
            03/16              Card Purchase       03/15 Los Angeles Athletic C Los Angeles CA Card 6048                                 242.31
            03/16
*end*atm debit withdrawal
                               Card Purchase       03/14 Starbucks Store 09234 Los Angeles CA Card 6048                                    6.35

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                                                                                              Primary Account:




*start*atm debit withdrawal




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          ATM & DEBIT CARD WITHDRAWALS

            03/16              Card Purchase   03/14 Lyft *Cancel Fee Lyft.Com CA Card 6048                                          5.00
            03/16              Card Purchase   03/15 Sq *Airport Transport G Renton WA Card 6048                                    54.00
            03/16              Card Purchase   03/15 800 Com 800-8004321 FL Card 8545                                            1,544.46
            03/19              Card Purchase   03/15 Virgin Amer 98421531 San Francisco CA Card 6048                               318.30
            03/19              Card Purchase   03/16 Fairmont Olympic Hotel Seattle WA Card 6048                                   124.60
            03/19              Card Purchase   03/16 Loulay Seattle WA Card 6048                                                   522.97
            03/19              Card Purchase   03/18 W Seattle Seattle WA Card 6048                                                717.38
            03/19              Card Purchase   03/17 Fairmont Olympic Hotel Seattle WA Card 6048                                    23.21
            03/19              Card Purchase   03/16 Sq *Grmai Fesehaye Seattle WA Card 6048                                        43.75
            03/19              Card Purchase   03/17 Lyft *Ride Fri 9Pm Lyft.Com CA Card 6048                                       25.45
            03/19              Card Purchase   03/17 Lyft *Ride Sat 12Pm Lyft.Com CA Card 6048                                      55.10
            03/19              Card Purchase   03/18 Airbnb * Hm32Rtmp2T 415-800-5959 CA Card 6048                                 455.28
            03/19              Card Purchase   03/17 Lyft *Ride Sat 3Pm Lyft.Com CA Card 6048                                       53.38
            03/19              Card Purchase   03/17 Lyft *Cancel Fee Lyft.Com CA Card 6048                                          5.00
            03/19              Card Purchase   03/17 Lyft *Ride Sat 8Pm Lyft.Com CA Card 6048                                       10.74
            03/19              Card Purchase   03/18 Sushi Kashiba Seattle WA Card 6048                                            302.56
            03/19              Card Purchase   03/19 Endicia Fees 650-321-2640 CA Card 8545                                         15.95
            03/19              Card Purchase   03/18 Lyft *Ride Sun 12Am Lyft.Com CA Card 6048                                      38.79
            03/19              Card Purchase   03/18 Lyft *Ride Sun 6Am Lyft.Com CA Card 6048                                       40.12
            03/19              Card Purchase   03/19 Purple Cafe & Wine Bar Seattle WA Card 6048                                   111.38
            03/20              Card Purchase   03/18 Lyft *Ride Sun 12Pm Lyft.Com CA Card 6048                                      34.85
            03/20              Card Purchase   03/18 Lyft *Ride Sun 9Pm Lyft.Com CA Card 6048                                       11.51
            03/20              Card Purchase   03/19 Lyft *Ride Sun 10Pm Lyft.Com CA Card 6048                                      18.36
            03/20              Card Purchase   03/19 Lyft *Ride Sun 11Pm Lyft.Com CA Card 6048                                      35.87
            03/20              Card Purchase   03/19 Lyft *Ride Mon 10Am Lyft.Com CA Card 6048                                      14.84
            03/20              Card Purchase   03/19 Lyft *Ride Mon 3Pm Lyft.Com CA Card 6048                                       87.73
            03/21              Card Purchase   03/19 Lyft *Ride Mon 5Pm Lyft.Com CA Card 6048                                       46.34
            03/21              Card Purchase   03/19 Lyft *Ride Mon 7Pm Lyft.Com CA Card 6048                                       26.71
            03/21              Card Purchase   03/19 Lyft *Ride Mon 9Pm Lyft.Com CA Card 6048                                        9.60
            03/21              Card Purchase   03/21 Endicia Postage (Ems) 650-321-2640 CA Card 8545                               200.00
            03/21              Card Purchase   03/20 Lyft *Ride Tue 5Pm Lyft.Com CA Card 6048                                       11.43
            03/21              Card Purchase   03/21 Sushi Kashiba Seattle WA Card 6048                                            319.73
            03/22              Card Purchase   03/19 Nordstrom#1 Seattle WA Card 6048                                               61.09
            03/22              Card Purchase   03/20 Lyft *Ride Tue 3Pm Lyft.Com CA Card 6048                                        8.15
            03/22              Card Purchase   03/20 Lyft *Ride Tue 6Pm Lyft.Com CA Card 6048                                       11.22
            03/22              Card Purchase   03/20 Lyft *Cancel Fee Lyft.Com CA Card 6048                                          5.00
            03/22              Card Purchase   03/20 Lyft *Ride Tue 7Pm Lyft.Com CA Card 6048                                       17.68
            03/22              Card Purchase   03/21 Siteground Hosting 866-6052484 VA Card 6048                                   479.00
            03/22              Card Purchase   03/21 Lyft *Ride Tue 9Pm Lyft.Com CA Card 6048                                       11.94
            03/22              Card Purchase   03/22 Airbnb * Hmf5Zsq5E5 415-800-5959 CA Card 6048                                 393.35
            03/22              Card Purchase   03/21 Lyft *Ride Wed 1Am Lyft.Com CA Card 6048                                        7.74
            03/23              Card Purchase   03/22 Sheraton Seattle Hotel Seattle WA Card 6048                                   592.22
            03/23              Card Purchase   03/20 47994658 Shopify.Com/C 08008085233 Card 8545                                   79.00
            03/23              Card Purchase   03/21 Lyft *Ride Wed 5Pm Lyft.Com CA Card 6048                                       16.09
            03/23              Card Purchase   03/22 Lyft *Ride Wed 8Pm Lyft.Com CA Card 6048                                       32.10
            03/23              Card Purchase   03/22 Lyft *Ride Thu 4Pm Lyft.Com CA Card 6048                                       14.68
            03/23              Card Purchase   03/22 Lyft *Ride Thu 4Pm Lyft.Com CA Card 6048                                        5.01
            03/23
*end*atm debit withdrawal
                               Card Purchase   03/22 Lyft *Ride Thu 6Pm Lyft.Com CA Card 6048                                       12.90

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                                                                               (continued)
          ATM & DEBIT CARD WITHDRAWALS

            03/23              Card Purchase With Pin 03/23 Apple Store #R122 3 Manhattan Bch CA Card 6048                             63.52
            03/26              Card Purchase       03/23 Courtyard By Marriott- Seattle WA Card 6048                                  438.23




                                                                                                                                               10050260804000000061
            03/26              Card Purchase       03/22 Lyft *Ride Thu 6Pm Lyft.Com CA Card 6048                                      10.24
            03/26              Card Purchase       03/22 Lyft *Ride Thu 6Pm Lyft.Com CA Card 6048                                       5.74
            03/26              Card Purchase       03/22 Lyft *Ride Thu 6Pm Lyft.Com CA Card 6048                                      12.38
            03/26              Card Purchase       03/23 Lyft *Ride Wed 11Pm Lyft.Com CA Card 6048                                      5.74
            03/26              Card Purchase       03/23 Lyft *Increase Tip Lyft.Com CA Card 6048                                      20.00
            03/26              Card Purchase       03/23 Delta Air 00623188156 Delta.Com CA Card 6048                                 387.30
            03/26              Card Purchase       03/23 48212754 Shopify.Com/C 08008085233 Card 8545                                 354.33
            03/26              Card Purchase       03/23 48212788 Shopify.Com/C 08008085233 Card 8545                                 496.97
            03/26              Card Purchase       03/24 Lyft *Ride Fri 6Am Lyft.Com CA Card 6048                                      57.84
            03/26              Card Purchase       03/23 Lyft *Ride Fri 11Am Lyft.Com CA Card 6048                                     56.98
            03/26              Card Purchase       03/23 Lyft *Ride Fri 2Pm Lyft.Com CA Card 6048                                      25.60
            03/26              Non-Chase ATM Withdraw 03/23 Koreatown        Lvd. Los Angeles CA Card 6048                            403.00
            03/26              Card Purchase       03/24 Lyft *Ride Fri 8Pm Lyft.Com CA Card 6048                                      32.58
            03/26              Card Purchase       03/24 Lyft *Ride Fri 6Am Lyft.Com CA Card 6048                                      19.16
            03/26              Card Purchase       03/24 Lyft *Ride Fri 11Pm Lyft.Com CA Card 6048                                      9.00
            03/26              Card Purchase       03/24 Lyft *Ride Sat 12Pm Lyft.Com CA Card 6048                                     17.24
            03/26              Card Purchase       03/24 Lyft *Ride Sat 12Pm Lyft.Com CA Card 6048                                     33.74
            03/26              Card Purchase       03/24 Lyft *Ride Sat 1Pm Lyft.Com CA Card 6048                                      16.52
            03/26              Non-Chase ATM Withdraw 03/24 Koreatown        Lvd. Los Angeles CA Card 6048                            403.00
            03/26              Card Purchase       03/25 Katana - West Hollyw West Hollywoo CA Card 6048                              261.88
            03/26              Card Purchase       03/25 Lyft *Ride Sat 11Pm Lyft.Com CA Card 6048                                     15.00
            03/26              Card Purchase       03/25 Jetblue 27921973 Salt Lake Cty UT Card 6048                                1,248.30
            03/26              Card Purchase       03/25 Lyft *Ride Sat 11Pm Lyft.Com CA Card 6048                                     45.11
            03/26              Card Purchase       03/25 Lyft *Ride Sat 7Pm Lyft.Com CA Card 6048                                      56.21
            03/26              Card Purchase       03/25 Lyft *Ride Sun 9Am Lyft.Com CA Card 6048                                      90.53
            03/26              ATM Withdrawal       03/25 7263 Park Blvd N Pinellas Park FL Card 0309                                 300.00
            03/26              Card Purchase       03/25 Pimsleur Online 800-831-5497 NJ Card 6048                                    108.20
            03/26              Card Purchase       03/25 Lyft *Ride Sun 12Pm Lyft.Com CA Card 6048                                     16.35
            03/26              Card Purchase       03/25 Sq *Cheapest Iphone Re Los Angeles CA Card 6048                              142.35
            03/26              Card Purchase With Pin 03/25 Walgreens Store 617 W Los Angeles CA Card 6048                             16.86
            03/26              Card Purchase       03/25 Delta Air 00623184419 Delta.Com CA Card 0309                                 500.60
            03/27              Card Purchase       03/25 Los Angeles Athletic C Los Angeles CA Card 6048                              661.25
            03/27              Card Purchase       03/25 Bottega Louie Los Angeles CA Card 6048                                       107.44
            03/27              Card Purchase       03/26 Lyft *Ride Sun 4Pm Lyft.Com CA Card 6048                                     224.56
            03/27              Card Purchase       03/26 Lyft *Cancel Fee Lyft.Com CA Card 6048                                         5.00
            03/27              Card Purchase       03/26 Staples    00102293 Largo FL Card 0309                                        45.03
            03/27              Card Purchase       03/26 Vtiger.Com 8777849277 CA Card 0309                                           433.80
            03/27              Card Purchase       03/26 Whiskey Joes - Tampa Tampa FL Card 0309                                      106.49
            03/27              Card Purchase       03/26 Webware Digital Svcs Downtown Toro On Card 8545                              299.00
            03/27              ATM Withdrawal       03/27 4315 Duhme Rd Madeira Beach FL Card 0309                                    500.00
            03/28              Card Purchase       03/26 Lyft *Ride Mon 6Am Lyft.Com CA Card 6048                                     330.05
            03/29              Card Purchase       03/28 Courtyard By Marriot Madeira Beach FL Card 0309                              307.50
            03/29              Card Purchase       03/28 Courtyard By Marriot Madeira Beach FL Card 0309                              324.45
            03/29              Card Purchase       03/28 Courtyard By Marriot Madeira Beach FL Card 0309                                3.21
            03/29              Card Purchase       03/28 Courtyard By Marriot Madeira Beach FL Card 0309                                3.50
            03/29
*end*atm debit withdrawal
                               Card Purchase       03/27 Delta Air 00671059216 Burnsville MN Card 6048                                736.40

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*start*atm debit withdrawal




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          ATM & DEBIT CARD WITHDRAWALS

            03/29                    Card Purchase        03/27 Agent Fee 89007438739 Burnsville MN Card 6048                                    112.00
            03/29                    Card Purchase        03/27 Delta Air 00670996719 Burnsville MN Card 6048                                    718.20
            03/29                    Card Purchase        03/27 Agent Fee 00670996719 Burnsville MN Card 6048                                    112.00
            03/29                    Card Purchase        03/27 Lyft *Ride Tue 11Pm Lyft.Com CA Card 6048                                         29.45
            03/29                    Card Purchase        03/28 Denny's #6394 180073 St Petersburg FL Card 6048                                   14.84
            03/29                    Card Purchase        03/28 Lyft *Ride Wed 1Am Lyft.Com CA Card 6048                                          30.35
            03/29                    Card Purchase        03/28 Advance Cleaners Los Angeles CA Card 6048                                         82.50
            03/30                    Card Purchase        03/29 Courtyard By Marriot Madeira Beach FL Card 6048                                  292.67
            03/30                    Card Purchase        03/28 Los Angeles Athletic C Los Angeles CA Card 6048                                   19.06
            03/30                    Card Purchase        03/28 Starbucks Store 14009 Irvine CA Card 6048                                         10.05
            03/30                    Card Purchase        03/28 Mcdonald's F25642 Los Angeles CA Card 6048                                         3.04
            03/30                    Card Purchase        03/29 Lyft *Ride Wed 4Am Lyft.Com CA Card 6048                                          27.38
            03/30                    Card Purchase        03/30 Hotel Casa Del Mar Santa Monica CA Card 6048                                       9.90
            Total ATM & Debit Card Withdrawals                                                                                           $27,180.58
*end*atm debit withdrawal


*start*atm and debit card summary




                     ATM & DEBIT CARD SUMMARY
        Anita York Card 0309
                                                     Total ATM Withdrawals & Debits                                                         $800.00
                                                     Total Card Purchases                                                                 $1,724.58
                                                     Total Card Deposits & Credits                                                            $0.00
        Anita York Card 3039
                                                     Total ATM Withdrawals & Debits                                                           $0.00
                                                     Total Card Purchases                                                                     $0.00
                                                     Total Card Deposits & Credits                                                          $616.38
        Darren S Matloff Card 6048
                                                     Total ATM Withdrawals & Debits                                                        $806.00
                                                     Total Card Purchases                                                               $17,796.66
                                                     Total Card Deposits & Credits                                                         $398.35
        Edward L Schafman Card 8545
                                                     Total ATM Withdrawals & Debits                                                           $0.00
                                                     Total Card Purchases                                                                 $6,053.34
                                                     Total Card Deposits & Credits                                                            $0.00
        ATM & Debit Card Totals
                                                     Total ATM Withdrawals & Debits                                                      $1,606.00
                                                     Total Card Purchases                                                               $25,574.58
*end*atm and debit card summary
                                                     Total Card Deposits & Credits                                                       $1,014.73




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*start*electronic withdrawal




        ELECTRONIC WITHDRAWALS

            03/01                03/01 Online Domestic Wire Transfer Via: Sil Vly Bk Scla/121140399 A/C: Superconductor                  $7,500.00
                                 Technologies Inc. Austin TX 78754 US Ref: Balance of Feb Rent/Time/11:11 Imad:




                                                                                                                                                         10050260805000000061
                                 0301B1Qgc08C006183 Trn: 4958500060Es
            03/01                03/01 Online Domestic Wire Transfer Via: Bank of America, N.A./0959 A/C: Bank of America                       459.00
                                 N.A. Charlotte NC 22801-2280 Ben: Cory Rencken Conroe TX 77385 US Ref: Equipment
                                 Rental Ssn: 0353069 Trn: 4960500060Es
            03/01                03/01 Online International Wire Transfer A/C: Lloyds Bank Plc Birmingham B1 2Ab United                    1,083.82
                                 Kingdom Ben:/Gb57Loyd30908000267368 Lee Waite Ref: Staff Reimbursement Business
                                 Expenses Trn: 5751300060Es
            03/01                03/01 Online International Wire Transfer Via: Citibank N.A./0008 A/C: Commerzbank Ag                    27,429.25
                                 Ravensburg Germany Ben: Gregor M. H. Steinborn Bellaire TX 77401 US Ref: Reimbursement
                                 Business Expenses Ssn: 0409379 Trn: 5755900060Es
            03/01                03/01 Online International Wire Transfer A/C: The Royal Bank of Scotland Plc London United                3,469.07
                                 Kingdom Ec2M -4Aa Ref: Staff Reimbursement Business Expenses Trn: 5957400060Es
            03/01                03/01 Online International Wire Transfer A/C: Canadian Imperial Bank of Commerce Toronto                  4,516.43
                                 On M5L 1-A2 Ben:/Gb16Naia07024618603716 Jack Bishop Ref:/Lmpd/Staff Reimbursement
                                 Business Expenses Trn: 5995100060Es
            03/01                03/01 Online International Wire Transfer A/C: Bank of East Asia Limited Hong Kong Hong Kong             30,000.00
                                 Ref: China Payment Business Expenses Trn: 6020000060Es
            03/01                03/01 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And                30,000.00
                                 Shanghai Banking Corp.Hong Kong Ben: Zhen Bond Kwaichung Hk Ref: China Payment
                                 Business Expenses Ssn: 0419157 Trn: 6043100060Es
            03/01                03/01 Online International Wire Transfer A/C: Lloyds Bank Plc London United Kingdom Ec2V                13,115.22
                                 -7Hn Ben:/Gb2Labby09012895746677 Rapscallions Uk Ltd Ref: Partial On Inv 1124 Business
                                 Expenses Trn: 5901000060Es
            03/01                03/01 Online International Wire Transfer A/C: Abn Amro Bank N V Head Office Amsterdam                   46,564.84
                                 Netherlands 1000 -Ea Ref: Inv 1186 1782 1187 1871 1174 Business Expenses Trn:
                                 6061400060Es
            03/01                03/01 Online International Wire Transfer A/C: Unicredit Bank Ag Muenchen Germany D-805-38               16,296.85
                                 Ben:/De54300400000486507700 Zangen Bansmann PR Gmbh & CO.Kg Ref: Partial On Inv
                                 101 102 120 Businessexpenses/Euro/ Trn: 5915800060Es
            03/01                03/01 Online International Wire Transfer A/C: Abn Amro Bank N V Head Office Amsterdam                     2,651.96
                                 Netherlands 1000 -Ea Ref: Inv Ams012929 Business Expenses Trn: 5798100060Es
            03/01                ADP Wage Pay Wage Pay 420044506524Ofu CCD ID: 9333006057                                                 3,696.87
            03/01                ADP Tax        ADP Tax Rnofu 030205A01 CCD ID: 1223006057                                                2,086.81
            03/02                03/02 Online International Wire Transfer A/C: National Westminster Bank Plc London United               21,243.45
                                 Kingdom Ec2M -4Aa Ref: Invoice 91 Business Expenses Trn: 4273100061Es
            03/02                03/02 Online International Wire Transfer Via: Standard Chartered Bank/0256 A/C: Raiffeisen                8,366.67
                                 Bank Rt H-1052 Budapest, Hungary Ben: Raaberlog Budapest 1037 Hu Ref: Invoice 17
                                 Business Expenses Ssn: 0423533 Trn: 5975600061Es
            03/02                03/02 Payment To Chase Card Ending IN 8311                                                               8,000.00
            03/05                03/05 Online Domestic Wire Transfer Via: Ew Bk Smrino/322070381 A/C: Brian D. Dlugash                  200,000.00
                                 Seattle WA 98115 US Ref: China Payment Imad: 0305B1Qgc08C003321 Trn: 3407900064Es
            03/05                03/05 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Institutional Banking              100,000.00
                                 Services, N.Afort Lauderdale FL 33301 US Ref: Deposit For Sblc Imad: 0305B1Qgc01C009672
                                 Trn: 3513300064Es
            03/05                03/05 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Knobbe, Martens,                   5,000.00
                                 Olson & Bear, Llp Irvine CA 92614 US Ref:/Time/17:08 Imad: 0305B1Qgc06C007217 Trn:
                                 6531500064Es
            03/05                Facebook       Bdwkac5Vu8 Bdlvnfx47C            ID: F201665019                                              18.84
            03/05                Facebook       Bdrwkr2CR4 Bdm5J3S6Mr              ID: F201665019                                             2.18
            03/06                03/06 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And                13,935.84
                                 Shanghai Banking Corp.Hong Kong Ben: Maxwell Electronics Limited Hong Kong Hong Kong
*end*electronic withdrawal
                                 Hk Ref: Rent Business Expenses Ssn: 0173892 Trn: 3233300065Es


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            03/06                03/06 Online International Wire Transfer A/C: Lloyds Bank Plc London United Kingdom Ec2V                9,958.74
                                 -7Hn Ben:/Gb65Bukb20025323496805 Linkedengland Ltd Ref: Business Expenses Trn:
                                 3256500065Es
            03/06                03/06 Online International Wire Transfer A/C: Hang Seng Bank Ltd Hong Kong Hong Kong Ref:             30,000.00
                                 Business Expenses Trn: 3248700065Es
            03/06                03/06 Online Domestic Wire Transfer Via: Bank of America, N.A./0959 A/C: Bank of America                1,385.00
                                 N.A. Charlotte NC 22801-2280 Ben: Cory Rencken Conroe TX 77385 US Ref: Reimbursement
                                 Ssn: 0360618 Trn: 4577300065Es
            03/06                03/06 Online Domestic Wire Transfer Via: Santander Bk/231372691 A/C: Spp Capital Partners             35,000.00
                                 New York NY 10173 US Ref: Installment Fee Imad: 0306B1Qgc08C004730 Trn:
                                 4581100065Es
            03/06                03/06 Online Domestic Wire Transfer Via: Bank of America, N.A./0959 A/C: Bank of America                  300.00
                                 N.A. Charlotte NC 22801-2280 Ben: Cory Rencken Conroe TX 77385 US Ref: Petty Cash Ssn:
                                 0362173 Trn: 4598500065Es
            03/06                03/06 Online International Wire Transfer A/C: Metropolitan Bank & Trust Company Makati,                 1,450.78
                                 Metro-Manila Philippines 12 Ref: Business Expenses Trn: 4717300065Es
            03/06                03/06 Online International Wire Transfer A/C: Banco Bilbao Vizcaya Argentaria Sa Bilbao                 2,935.49
                                 48005 Spain Ref: Business Expenses Trn: 4745500065Es
            03/06                03/06 Online International Wire Transfer A/C: Dbs Bank Hong Kong Ltd Hong Kong Hong Kong              52,709.77
                                 Ref: Rent Business Expenses Trn: 4671500065Es
            03/06                03/06 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Susan                               2,000.00
                                 Sheffiled-Ocampo Cozumel Centro Mx Ref: Consulting Fees Imad: 0306B1Qgc03C010215 Trn:
                                 5308400065Es
            03/06                03/06 Online International Wire Transfer A/C: Lloyds Bank Plc London United Kingdom Ec2V                  356.14
                                 -7Hn Ben:/Gb06Barc20377583467368 Rooks Rider Solicitors Llp Ref: Legal Business
                                 Expenses Trn: 5265200065Es
            03/06                Facebook        B94Umjicru Bdlvnfxemg         ID: F201665019                                             160.59
            03/06                Facebook        B94Umjicru Bdlvnfxemh         ID: F201665019                                             103.35
            03/07                03/07 Online International Wire Transfer A/C: Bank of China Hong Kong Ltd West Kowloon                80,000.00
                                 Hong Kong Ref: Business Expenses Trn: 4173400066Es
            03/07                03/07 Online International Wire Transfer Via: Standard Chartered Bank/0256 A/C: Standard                8,000.00
                                 Chartered Bank Hong Kong Ben: Sun Changwu Central Hong Kong Hk Ref: Business
                                 Expenses Ssn: 0361868 Trn: 4356300066Es
            03/07                03/07 Online International Wire Transfer A/C: Canadian Imperial Bank of Commerce Toronto                5,000.00
                                 On Canada M5E 1-G4 Ref: Business Expenses Trn: 4414200066Es
            03/07                03/07 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And              50,000.00
                                 Shanghai Banking Corp.Hong Kong Ben: Qixun Technology Limited Kowloon Hong Kong Hk
                                 Ref: Business Expenses Ssn: 0365878 Trn: 4371600066Es
            03/07                03/07 Online International Wire Transfer A/C: Erste Group Bank Ag Wien Austria 1100 -                     655.65
                                 Ben:/Hu57100320000182020300000000 Nemzeti Ado-Es Vamhivatal
                                 Ref:/Lmpd/101224Ea048655 Rooftop Group Hungary Kft 25992838-2-07 Business Expenses
                                 Trn: 4431800066Es
            03/07                03/07 Online International Wire Transfer Via: Bank of America, N.A./0959 A/C: Bank of                     370.69
                                 America Nt And Sa Hong Kong Ben: Premiere Conferencing (Hk) Limited Kwai Chung Hong
                                 Kong Hk Ref: Business Expenses Ssn: 0370923 Trn: 4397300066Es
            03/07                03/07 Online International Wire Transfer Via: Wells Fargo Bank, N.A./0509 A/C: Indian                 35,000.00
                                 Overseas Bank Hong Kong Ben: Geekay Enterprises (Hk) Ltd Hong Kong Hong Kong Hk Ref:
                                 Towards 2016 Commissions Business Expenses Ssn: 0374654 Trn: 4542700066Es
            03/07                03/07 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And              30,000.00
                                 Shanghai Banking Corp.Hong Kong Ben: Hornson Enterprises Limited Kowloon Hong Kong Hk
                                 Ref: Business Expenses Ssn: 0387486 Trn: 4151300066Es
            03/07                03/07 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And              20,000.00
                                 Shanghai Banking Corp.Hong Kong Ben: Hongli Color Printing Packing Ltd Hong Kong Hong
                                 Kong Hk Ref: Business Expenses Ssn: 0392353 Trn: 4381000066Es
            03/07
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                                 Stripe       Transfer            CCD ID: 1800948598                                                           2.28


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            03/08                03/08 Online International Wire Transfer A/C: China Merchants Bank CO.,Ltd Shenzhen China              20,000.00
                                 51804-0 Ref: Business Expenses/Bnf/Gds Trn: 4280800067Es




                                                                                                                                                     10050260806000000061
            03/08                03/08 Online Payment 6965653646 To AT&T Mobility                                                         1,942.87
            03/09                03/09 Online International Wire Transfer A/C: Erste Group Bank Ag Wien Austria 1100 -                    4,650.97
                                 Ben:/Hu32100320000103720300000000 Nemzeti Ado-Es Vamhivatal Ref:/Lmpd/Vat Business
                                 Expenses Trn: 5314300068Es
            03/09                ADP Payroll Fees ADP - Fees 2Rofu 7734925 CCD ID: 9659605001                                               93.81
            03/12                03/12 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Institutional Banking              10,000.00
                                 Services, N.Afort Lauderdale FL 33301 US Ref: Rooftop Group International Imad:
                                 0312B1Qgc01C008026 Trn: 5426500071Es
            03/12                United Healthcar EDI Paymts 386360060031          ID: 1411289245                                          554.73
            03/12                Facebook         B8K2Tsxcrf Bdm3Jkeade         ID: F201665019                                             439.85
            03/12                Facebook         Bbnc6Maw6K Bdlxmmzakp           ID: F201665019                                           434.80
            03/12                Facebook         Bbnc6Maw6K Bdlxmmzako           ID: F201665019                                           186.02
            03/12                Facebook         B8K2Tsxcrf Bdm3Jkeadc         ID: F201665019                                             160.58
            03/13                03/13 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And               60,000.00
                                 Shanghai Banking Corp.Hong Kong Ben: Asian Express Holdings Ltd. Nathan Road Hong Kong
                                 Hk Ref: Invoice Payment Ssn: 0379132 Trn: 4937900072Es
            03/13                Facebook         B45Er37Kw9 Bdm3Jkgqr5          ID: F201665019                                           1,277.33
            03/13                Facebook         B45Er37Kw9 Bdm3Jkgqr4          ID: F201665019                                           1,067.90
            03/14                03/14 Online Domestic Wire Transfer Via: US Bk CA Aub/121122676 A/C: Social Media                          500.00
                                 Trackers-Mark Schwartzsann Rafael CA 94903 US Imad: 0314B1Qgc03C008389 Trn:
                                 5116100073Es
            03/14                03/14 Online International Wire Transfer A/C: Canadian Imperial Bank of Commerce Toronto                   630.00
                                 On M5L 1-A2 Ben:/Gb16Naia07024618603716 Jack Bishop Ref:/Lmpd/Invoice
                                 Payment/Bnf/Reimbursement Austin Trip Trn: 5127700073Es
            03/15                03/15 Payment To Chase Card Ending IN 3493                                                               1,618.00
            03/15                03/15 Payment To Chase Card Ending IN 8311                                                               1,013.00
            03/16                03/16 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De               2,161.72
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop Ben:/0688584
                                 Kshitija Chitnis Ref: Inv Roof201805Invoice
                                 Payment/Ocmt/Cad2771,33/Exch/1.2820/Cntr/8924769 0/ Trn: 4348600075Re
            03/19                Comcast          Cable             PPD ID: 0000213249                                                      117.47
            03/20                03/20 Online Domestic Wire Transfer Via: Cibc Bank USA/071006486 A/C: SD Card                            2,000.00
                                 Association San Ramon CA 94583 US Ref: Invoice 21-230077 Imad: 0320B1Qgc07C012163
                                 Trn: 4863400079Es
            03/21                03/21 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De               2,175.60
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop
                                 Ben:/Gb77Chas60924241389246 City Numbers Ref: Propel Inv 15 And 16Business
                                 Expenses/Ocmt/Gbp1501,38/Exch/0.6901/Cntr/17638033/ Trn: 5781000080Re
            03/21                03/21 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Arowhon, LLC St.                     5,000.00
                                 Petersburg FL 33716 US Ref: Consulting 3/21 To 4/30 Imad: 0321B1Qgc06C005763 Trn:
                                 4582800080Es
            03/22                Stripe        Transfer            CCD ID: 1800948598                                                       159.58
            03/23                925 4th Avenue Epay                  PPD ID: 9822473001                                                  3,750.00
            03/23                ADP Payroll Fees ADP - Fees 2Rofu 9927305 CCD ID: 9659605001                                                22.39
            03/26                03/26 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De               2,847.75
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop
                                 Ben:/Gb19Hbuk40462291371924 A L Aitken Ref: Business
                                 Expenses/Ocmt/Gbp1955,55/Exch/0.6867/Cntr/15283204/ Trn: 7038400085Re
            03/26                03/26 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De             11,444.01
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop
                                 Ben:/Gb57Loyd30908000267368 Lee Waite Ref: Business
*end*electronic withdrawal
                                 Expenses/Ocmt/Gbp7876,91/Exch/0.6883/Cntr/14483196/ Trn: 7038500085Re

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*start*electronic withdrawal




                                                                         (continued)
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            03/26                03/26 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De              10,736.63
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop
                                 Ben:/Es8901825753340201520772 Roberto Bello Hernandez Ref: Business
                                 Expenses/Ocmt/Eur8450,80/Exch/0.7871/Cntr/18410918/ Trn: 7134900085Re
            03/26                03/26 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De                7,504.00
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop
                                 Ben:/Gb16Naia07024618603716 Jack Bishop Ref: Business
                                 Expenses/Ocmt/Gbp5165,00/Exch/0.6883/Cntr/14468932/ Trn: 7134800085Re
            03/26                03/26 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De              20,756.79
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop
                                 Ben:/De77650400730197132400 Gregor M. H. Steinborn Ref: Business
                                 Expenses/Ocmt/Eur16337,67/Exch/0.7871/Cntr/21046012/ Trn: 7038600085Re
            03/26                03/26 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De              11,606.31
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop
                                 Ben:/Gb48Rbos16605110359720 J. M. Truter Ref: Business
                                 Expenses/Ocmt/Gbp7988,62/Exch/0.6883/Cntr/82688032/ Trn: 7039000085Re
            03/26                03/26 Online International Wire Transfer A/C: Scb NY Lmpd Acct New York NY 10036-                         2,601.59
                                 Ben:/456171198833 Lee Chung Tat Ref: Business Expenses/Lmpd/ Trn: 3679000085Es
            03/26                03/26 Online International Wire Transfer A/C: Scb NY Lmpd Acct New York NY 10036-                         1,702.89
                                 Ben:/0812009173 Kwan Yee Wan Ref: Business Expenses/Lmpd/ Trn: 3675800085Es
            03/26                03/26 Online International Wire Transfer A/C: Scb NY Lmpd Acct New York NY 10036-                         1,072.78
                                 Ben:/611297219888 Chew Chiat Thian Ref: Business Expenses/Lmpd/ Trn: 3680900085Es
            03/26                03/26 Online Domestic Wire Transfer Via: Pncbank NJ/031207607 A/C: Sanjeev A. Tuli                      16,500.00
                                 Secaucus NJ 07094 US Ref: Business Expenses Imad: 0326B1Qgc05C002245 Trn:
                                 3671500085Es
            03/26                03/26 Online International Wire Transfer Via: Standard Chartered Bank/0256 A/C: Standard                  5,640.80
                                 Chartered Bank Hong Kong Ben: Lam Hoi Yan Hong Kong Hk Hk Ref: Business Expenses Ssn:
                                 0208044 Trn: 3674800085Es
            03/26                03/26 Online International Wire Transfer A/C: Taipei Fubon Commercial Bank CO Ltdtaipei 106               6,000.00
                                 Taiwan Ref: Business Expenses Trn: 3682000085Es
            03/26                03/26 Online International Wire Transfer A/C: Hang Seng Bank Ltd Hong Kong Hong Kong Ref:                 4,647.39
                                 Business Expenses Trn: 3676600085Es
            03/26                03/26 Online International Wire Transfer A/C: Scb NY Lmpd Acct New York NY 10036-                         1,943.24
                                 Ben:/0949087597 Lau Siu Yin Ref: Business Expenses/Lmpd/ Trn: 3678400085Es
            03/26                03/26 Online International Wire Transfer A/C: Taipei Fubon Commercial Bank CO Ltdtaipei 106               3,000.00
                                 Taiwan Ref: Business Expenses Trn: 3683300085Es
            03/26                03/26 Online Payment 7010500191 To AT&T Mobility                                                          2,435.36
            03/26                03/26 Online International Wire Transfer A/C: Royal Bank of Canada Payment Centertoronto                  3,846.15
                                 On Canada M5V2Y-1 Ref: 4 MO. Consultancy Expenses/Bnf/For Deposit To Anicole, Inc. Trn:
                                 4327300085Es
            03/26                03/26 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Knobbe, Martens,                   6,000.00
                                 Olson & Bear, Llp Irvine CA 92614 US Ref:/Time/10:28 Imad: 0326B1Qgc08C004069 Trn:
                                 4325200085Es
            03/26                03/26 Online Domestic Wire Transfer Via: Mtn Am CU Slc/324079555 A/C: Kyle Dahl St.                       3,496.24
                                 George UT 84790 US Imad: 0326B1Qgc01C008688 Trn: 4357100085Es
            03/26                03/26 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Institutional Banking               10,000.00
                                 Services, N.Afort Lauderdale FL 33301 US Imad: 0326B1Qgc01C008711 Trn: 4362700085Es
            03/26                03/26 Online Domestic Wire Transfer A/C: Q4 Brands LLC Austin, TX 787358085 Trn:                          5,307.07
                                 4371300085Es
            03/26                03/26 Online International Wire Transfer A/C: Foreign Cur Bus Acct Bk 1 Columbus Newark De                3,144.89
                                 197132107 Org: 00000000470952495 Rooftop Group USA, Inc. Dba Rooftop Ben:/5297944
                                 Link Search Group Inc. Ref: Inv 1193 & 1191Business
                                 Expenses/Ocmt/Cad3972,94/Exch/1.2633/Cntr/1762 3754/ Trn: 7258700085Re
            03/26                03/26 Online Domestic Wire Transfer Via: Bk Amer Nyc/026009593 A/C: Susan                                 4,000.00
                                 Sheffiled-Ocampo Cozumel Centro Mx Ref: Consultancy Fees Imad: 0326B1Qgc06C004226
*end*electronic withdrawal
                                 Trn: 4377100085Es

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*start*electronic withdrawal




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        ELECTRONIC WITHDRAWALS

            03/26                03/26 Online International Wire Transfer A/C: Bdo Unibank Inc. Metro Manila Philippines Ref:              12,000.00
                                 Business Expenses Trn: 3671200085Es




                                                                                                                                                        10050260807000000061
            03/26                03/26 Online International Wire Transfer A/C: Scb NY Lmpd Acct New York NY 10036-                         10,675.80
                                 Ben:/5957007262 Yiu Man Chi Ref: Business Expenses/Lmpd/ Trn: 3675600085Es
            03/26                03/26 Online International Wire Transfer A/C: Scb NY Lmpd Acct New York NY 10036-                         10,419.33
                                 Ben:/1134013372 Tse Wai Man Philip Ref: Business Expenses/Lmpd/ Trn: 3677600085Es
            03/26                Cna        ACH Prem-Pymt 3012185730          CCD ID: 9896553001                                             3,671.51
            03/26                Facebook        Bclz6555Cn Bdm7Hnynrh            ID: F201665019                                             2,886.06
            03/26                Facebook        Betc6S0Xcw Bdlzlit4Vh         ID: F201665019                                                  974.41
            03/26                Stripe       Transfer            CCD ID: 1800948598                                                           126.39
            03/26                Facebook        Bclz6555Cn Bdm7Hnynri           ID: F201665019                                                 31.37
            03/26                Facebook        Betc6S0Xcw Bdlzlit4VI        ID: F201665019                                                    11.74
            03/27                03/27 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And                    3,195.54
                                 Shanghai Banking Corp.Hong Kong Ben: Eton House Tai PO Hk Hk Ref: Business Expenses
                                 Ssn: 0356014 Trn: 4112900086Es
            03/27                03/27 Online International Wire Transfer A/C: Agricultural Bank of China Limited Beijing China                617.71
                                 10003-7 Ben:/41000400040011662 Beijing Kangliekong International Ref: Business
                                 Expenses/Bnf/Srv Trn: 4138300086Es
            03/28                03/28 Online International Wire Transfer A/C: Chiyu Banking Corp Ltd Central Hong Kong                    20,000.00
                                 00000-0 Ref: Business Expenses Trn: 3301900087Es
            03/28                03/28 Online Domestic Wire Transfer Via: US Bk CA Aub/121122676 A/C: Social Media                             500.00
                                 Trackers-Mark Schwartzsann Rafael CA 94903 US Ref: Balance of Invoice Imad:
                                 0328B1Qgc01C001923 Trn: 3305800087Es
            03/29                03/29 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Aba/111900659                      15,000.00
                                 Fort Worth TX 76101 Ben: Rooftop Group Services US, Inc. Bellaire TX 77401 US Ref:
                                 Payroll/Time/10:37 Imad: 0329B1Qgc08C008007 Trn: 4068200088Es
            03/29                03/29 Online Domestic Wire Transfer Via: Bank of America, N.A./0959 A/C: Bank of America                    2,821.56
                                 N.A. Charlotte NC 22801-2280 Ben: Cory Rencken Conroe TX 77385 US Ref: 033018 Payroll
                                 Plus 30 Dollars Wirefees Ssn: 0453691 Trn: 4241400088Es
            03/29                03/29 Online International Wire Transfer A/C: Fubon Bank (Hong Kong) Limited Central Hong                   2,016.46
                                 Kong Hong Kong Ref: 033018 Payroll Business Expenses Trn: 4243100088Es
            03/29                03/29 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And                    5,683.13
                                 Shanghai Banking Corp.Hong Kong Ben: Yangjiang Yongjiu Hardware Limited Hong Kong Hk
                                 Hk Ref: Cassie Knife Business Expenses Ssn: 0462473 Trn: 4309200088Es
            03/29                03/29 Online International Wire Transfer Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And                      800.00
                                 Shanghai Banking Corp.Hong Kong Ben: Power Point Secretary Limited Hong Kong Hk Hk Ref:
                                 Business Expenses Ssn: 0463995 Trn: 4323500088Es
            03/29                03/29 Online International Wire Transfer A/C: Unicredit Bank Hungary Zrt. Budapest Hungary                    998.93
                                 1054 - Ref: Salary Business Expenses Trn: 4472600088Es
            03/30                03/30 Online International Wire Transfer A/C: Metropolitan Bank & Trust Company Makati,                     4,884.15
                                 Metro-Manila Philippines 12 Ref: Payroll And Expenses Business Expenses Trn:
                                 5137600089Es
            03/30                03/30 Online Domestic Wire Transfer Via: Wells Fargo NA/121000248 A/C: Gwendolyn Lew                        6,666.66
                                 Winston Salem NC 27101 US Ref: Philip Anthony Lew/Time/12:19 Imad:
                                 0330B1Qgc07C005165 Trn: 5160200089Es
            Total Electronic Withdrawals                                                                                              $1,280,996.84
*end*electronic withdrawal


*start*other withdrawals




          OTHER WITHDRAWALS

            03/05               03/03 Withdrawal                                                                                           $2,649.00
            Total Other Withdrawals                                                                                                        $2,649.00
*end*other withdrawals




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                                                                                                                 Primary Account:




   *start*fees section




                         FEES

                03/05                      Service Charges For The Month of February                                                                 $920.00
                Total Fees                                                                                                                           $920.00
   *end*fees section




*start*post fees message




         The monthly service fee of $20.00 was waived this period because you maintained a relationship balance (combined
         business deposits) of $35,000.00 or more.
*end*post fees message


*start*daily ending balance2




                DAILY ENDING BALANCE

     03/01                                           $810,174.73           03/13                     18,429.28          03/22                       23,694.49
     03/02                                            772,084.71           03/14                     36,497.46          03/23                      263,947.73
     03/05                                            463,191.87           03/15                     33,397.89          03/26                       79,004.17
     03/06                                            314,426.21           03/16                     30,620.85          03/27                       89,139.90
     03/07                                              86,274.08          03/19                     27,591.17          03/28                       69,179.55
     03/08                                              66,905.14          03/20                     29,954.76          03/29                       36,906.79
     03/09                                              65,745.73          03/21                     24,562.57          03/30                       24,463.97
     03/12
*end*daily ending balance2
                                                        79,254.07
*start*service charge summary2




               SERVICE CHARGE SUMMARY
            Chase Performance Business Checking Accounts Included:

*start*service charge summary2 part1




            Maintenance Fee                                                                       $0.00 Waived by checking and relationship balances
            Excess Product Fees                                                                   $0.00
            Other Service Charges                                                             $2,842.20
            Total Service Charges
*start*service charge summary2 part2
                                                                                              $2,842.20 Will be assessed on 4/4/18



            Checks Paid / Debits                                                                    304
            Deposits / Credits                                                                       54
            Deposited Items                                                                          11
            Total Transactions
*end*service charge summary2
                                                                                                    369
*start*service charge detail2




             SERVICE CHARGE DETAIL
            Your Product Includes:

            ACCOUNT
             Waived Monthly Service Fee                                                  0                                      $20.00                $0.00
             Transactions                                                              369            0          369             $0.00                $0.00
                                Subtotal                                                                                                              $0.00
            Other Fees
             Electronic Credits                                                         51   999,999,999          0              $0.40               $0.00
             Non-Electronic Transactions                                               318           250         68              $0.40              $27.20
             Online Domestic Wire Fee                                                   23             2         21             $25.00             $525.00
             Stop Payment - Online
*end*service charge detail2
                                                                                         1             0          1             $25.00              $25.00

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*start*service charge detail2




                                                                               (continued)
             SERVICE CHARGE DETAIL
             Domestic Incoming Wire Fee                                                    6    0          6            $0.00                $0.00
             International Incoming Wire Fee                                               1    0          1            $0.00                $0.00
             Online US Dollar Intl Wire Fee                                               52    0         52           $40.00            $2,080.00




                                                                                                                                                     10050260808000000061
             Online Fx Intl Wire Fee                                                       4    0          4           $40.00             $160.00
             Online Fx Intl Wire Fee - High                                                5    0          5            $0.00                $0.00
             Online ACH Payments Maint                                                     1    0          1           $25.00               $25.00
             ATM - Non Chase Withdrawal                                                    2    0          2            $2.50                $0.00
             ATM - Non Chase Inquiry                                                       1    0          1            $2.50                $0.00
            Total Service Charge (Will be assessed on 4/4/18)                                                                            $2,842.20

            ACCOUNT
             Electronic Credits                                                            51
             Non-Electronic Transactions                                                  318
             Online Domestic Wire Fee                                                      23
             Stop Payment - Online                                                          1
             Domestic Incoming Wire Fee                                                     6
             International Incoming Wire Fee                                                1
             Online US Dollar Intl Wire Fee                                                52
             Online Fx Intl Wire Fee                                                        4
             Online Fx Intl Wire Fee - High                                                 5
             Online ACH Payments Maint                                                      1
             ATM - Non Chase Withdrawal                                                     2
             ATM - Non Chase Inquiry
*end*service charge detail2
                                                                                            1




         *start*global product




                          CHASE PERFORMANCE BUSINESS CHECKING
                            ROOFTOP GROUP USA, INC. DBA                                                       Account Number:
                            ROOFTOP BRANDS
         *end*global product
         *start*summary




                         CHECKING SUMMARY
                      Beginning Balance                                                              $73.06
                      Ending Balance                                                  0              $73.06
         *end*summary



*start*post overdraft and returned item message1




         The fees for this account are included in the fee information for account --------------
*end*post overdraft and returned item message1




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                                                                                                                      March 01, 2018 through March 30, 2018
                                                                                                                      Primary Account:


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                  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                  address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                  incorrect or if you need more information about a transfer listed on the statement or receipt.
                  For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                  appeared. Be prepared to give us the following information:
                                  Your name and account number
                                  The dollar amount of the suspected error
                                  A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                  We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                  accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                  us to complete our investigation .
                  IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                  incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                  you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                  Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                  JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                          JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




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